                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION

                                                )
                                                )
EPIC GAMES, INC.,                               )
                                                )
                  Plaintiff,                    )
                                                )         Civil Action No.: 5:17-cv-00534-H
v.                                              )
                                                )
C.R.,                                           )
                                                )
                  Defendant.                    )
                                                )

       MOTION TO APPOINT LAUREN A. ROGERS GENERAL GUARDIAN FOR
     DEFENDANT OR, IN THE ALTERNATIVE, APPOINT A GUARDIAN AD LITEM
                         (“GAL”) FOR DEFENDANT

        Pursuant to Local Civil Rule 17.1(a) and Rule 17(c) of the Federal Rules of Civil

Procedure, Plaintiff Epic Games Inc. (“Plaintiff” or “Epic)”) respectfully moves the Court to

appoint a representative and guardian for the minor Defendant (“Defendant” or “C.R.”). In

particular, Epic respectfully petitions the Court to appoint Lauren A. Rogers (“Ms. Rogers”),

Defendant’s mother, as general guardian and representative or, in the alternative, appoint a

suitable adult to act as Defendant’s representative and guardian ad litem to defend on his behalf

in this action.

        In further support of this Motion, Epic refers to and incorporates herein its Memorandum

of Law in Support of Plaintiff’s Motion to Appoint Lauren A. Rogers General Guardian for

Defendant or, In the Alternative, Appoint a Guardian ad Litem (“GAL”) for Defendant, and the

Third Declaration of Christopher M. Thomas, which are being filed contemporaneously

herewith.

        WHEREFORE, for the reasons set forth above and in Epic’s Memorandum of Law, Epic



                                           1
            Case
PPAB 5163028v1       5:17-cv-00534-H Document 31 Filed 10/09/19 Page 1 of 3
respectfully requests that this Honorable Court appoint Lauren A. Rogers general guardian for

Defendant or, in the alternative, appoint a guardian ad litem to represent and defend this case on

Defendant’s behalf.

       This the 9th day of October, 2019.

                                             /s/ Christopher M. Thomas
                                             Christopher M. Thomas
                                             N.C. State Bar No. 31834
                                             christhomas@parkerpoe.com
                                             Tasneem A. Dharamsi
                                             N.C. State Bar No. 47697
                                             tasneemdharamsi@parkerpoe.com
                                             PARKER POE ADAMS & BERNSTEIN LLP
                                             301 Fayetteville Street, Suite 1400
                                             Post Office Box 389
                                             Raleigh, North Carolina 27602-0389
                                             Telephone: (919) 828-0564
                                             Facsimile: (919) 834-4564

                                             Attorneys for Plaintiff
                                             Epic Games, Inc.




                                         2
            Case
PPAB 5163028v1     5:17-cv-00534-H Document 31 Filed 10/09/19 Page 2 of 3
                               CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing MOTION TO APPOINT LAUREN A.

ROGERS GENERAL GUARDIAN FOR DEFENDANT OR, IN THE ALTERNATIVE,

APPOINT A GUARDIAN AD LITEM (“GAL”) FOR DEFENDANT was electronically filed

this day with the Clerk of Court using the CM/ECF system and is and is available to C.R. c/o

Lauren Rogers via PACER. This also certifies that copies of the foregoing paper have been

served on C.R. and Lauren Rogers at the addresses below.

                                              5 Vireo Circle
                                            Newark, DE 19711

                                           501 West Ave.
                                        New Castle, DE 19720

       This the 9th day of October, 2019.


                                             /s/ Christopher M. Thomas
                                             Christopher M. Thomas
                                             N.C. State Bar No. 31834
                                             christhomas@parkerpoe.com
                                             Tasneem A. Dharamsi
                                             N.C. State Bar No. 47697
                                             tasneemdharamsi@parkerpoe.com
                                             PARKER POE ADAMS & BERNSTEIN LLP
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                                         3
            Case
PPAB 5163028v1     5:17-cv-00534-H Document 31 Filed 10/09/19 Page 3 of 3
